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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 JOHN DOE,                                      :   Case No. 18-cv-11776
                                                :
                           Plaintiff,           :   Hon. Arthur J. Tarnow
                                                :   Mag. Elizabeth A. Stafford
       v.                                       :
                                                :   DEFENDANTS’ MOTION
 UNIVERSITY OF MICHIGAN, et al.,                :   TO DISSOLVE ORDER
                                                :   ENJOINING STUDENT
                           Defendants.          :   CONDUCT HEARING, OR,
                                                :   IN THE ALTERNATIVE,
                                                :   FOR PROMPT RULING ON
                                                :   PENDING MOTIONS


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       Defendants move, pursuant to Rule 7(b) of the Federal Rules of Civil

 Procedure, for relief from the Court’s order enjoining the University from moving

 forward with Plaintiff John Doe’s student conduct hearing (see ECF No. 82 at

 15:23) so that the University may bring the student conduct proceeding to an

 expeditious conclusion in light of Doe’s impending graduation from the

 University. In the alternative, Defendants respectfully request a prompt decision

 on the motions pending before the Court. In support of this motion, Defendants

 rely upon the attached brief.

       Counsel for Defendants explained the nature of this motion and its basis to

 Plaintiff’s counsel via e-mail on January 20, 2020.         Counsel for Defendants

 requested concurrence with respect to both forms of relief sought in this motion.

 Counsel for Plaintiff does not consent to either form of relief.

       WHEREFORE, Defendants respectfully request that the Court vacate and

 dissolve its order barring the University from moving forward with Plaintiff John

 Doe’s student conduct hearing, or, in the alternative, promptly rule on the motions

 pending before the Court.
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                                       Respectfully submitted,
 January 22, 2020

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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 JOHN DOE,                                      :   Case No. 18-cv-11776
                                                :
                           Plaintiff,           :   Hon. Arthur J. Tarnow
                                                :   Mag. Elizabeth A. Stafford
       v.                                       :
                                                :   DEFENDANTS’ BRIEF IN
 UNIVERSITY OF MICHIGAN, et al.,                :   SUPPORT OF
                                                :   DEFENDANTS’ MOTION
                           Defendants.          :   TO DISSOLVE ORDER
                                                :   ENJOINING STUDENT
                                                :   CONDUCT HEARING, OR,
                                                :   IN THE ALTERNATIVE,
                                                :   FOR PROMPT RULING ON
                                                :   PENDING MOTIONS


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                                    TABLE OF AUTHORITIES

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                  STATEMENT OF THE ISSUE PRESENTED
       Should the Court vacate and dissolve its order barring the University from

 moving forward with Plaintiff John Doe’s student conduct hearing so that the

 University may bring the student conduct proceeding to an expeditious conclusion,

 or, in the alternative, should the Court promptly rule on the pending motions?

       Yes. It is in the interests of all parties to move forward with Plaintiff’s

 student conduct hearing.




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                        APPROPRIATE AUTHORITY

 Doe v. Baum, 903 F.3d 575 (6th Cir. 2018)

 Doe v. The Ohio State Univ., 136 F. Supp. 3d 854 (S.D. Ohio 2016)

 Rock & Roll Hall of Fame & Museum, Inc. v. Gentile Prods., 134 F.3d 749 (6th
 Cir. 1998)




                                        iv
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                                 INTRODUCTION
       Defendants filed a motion on October 21, 2019 seeking to postpone the

 November 21, 2019 hearing on the parties’ pending motions 1 so that the University

 could move forward with Doe’s student conduct hearing. (See ECF No. 78.) In

 the alternative, Defendants requested a ruling on the pending motions within two

 weeks of the November 21, 2019 motion hearing. (See id.) The Court denied

 Defendants’ motion (ECF No. 81), and the motion hearing went forward as

 scheduled. In denying Defendants’ motion, the Court stated that “[a] ruling on the

 pending motions will . . . be issued in a timely manner as to accommodate all

 interested parties.” (Id. at 4.) The Court again ruled at the motion hearing that its

 order to stay Doe’s student conduct hearing remained in force “for now.” (ECF

 No. 82 at 15:23.)

       Based on the classes for which he has registered, Doe is eligible to graduate

 at the conclusion of the Winter 2020 semester. Commencement activities are

 scheduled for April 30 – May 3, 2020. With Doe’s graduation now imminent,

 equity to all involved – including both Doe and the student who has accused Doe

 of misconduct (the “Claimant”) – requires the University to move forward with

 Doe’s student conduct hearing as soon as practicable so that the University can


 1
   Defendants’ motion to dismiss, Plaintiff John Doe’s motion for partial summary
 judgment, and Defendants’ motion for protective order. (See ECF Nos. 49, 53,
 66.)
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 ensure a full and fair hearing at which all material witnesses can be available to

 appear and the parties can obtain a final result to this process before Doe leaves the

 University.

       As of the date of this motion, it has been two months since the November 21

 hearing and three months since the University first sought relief from the Court’s

 order barring the University from moving forward with Doe’s conduct hearing.

 The University respectfully requests that the Court vacate and dissolve its order

 barring the University from proceeding with Doe’s student conduct hearing, or, in

 the alternative, promptly rule on the motions pending before the Court.

                                    ARGUMENT
       More than eighteen months have passed since the University was first

 enjoined from concluding its investigation and adjudication of the allegations made

 against Doe by the Claimant, and more than two months since the Court stated that

 it would rule on the pending motions “in a timely manner.” (ECF No. 81 at 4.) As

 the University set forth in its prior motion, which the University incorporates here

 by reference (see ECF Nos. 78, 80), it is in the interest of everyone involved in this

 matter, including the Court, for the University to move forward with its process in

 a timely manner. Doe has an interest in this matter being resolved before he

 graduates from the University so he can plan for his future; the Claimant, though




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 not before the Court,2 has a strong interest in the resolution of her allegations; the

 University has obligations under Title IX to which it must adhere in a timely

 manner; 3 and the Court, too, would benefit from a fully developed set of facts –

 including potential developments that may moot this matter entirely and allow the

 Court to devote its resources elsewhere.

       Further delay of Doe’s hearing risks that Doe and other witnesses will

 become unavailable as they graduate and leave campus; the University, of course,

 does not wield subpoena power to compel students who have graduated to return to

 campus to participate in a student conduct hearing. For the avoidance of any

 doubt, these disruptions pose a genuine risk that a hearing might never occur. The

 consequence is that Doe’s lawsuit, brought initially to challenge only the

 University’s process, may result in the Claimant – whom, it bears emphasis, has

 alleged that Doe raped her – never having the opportunity to have her case heard.

 These circumstances and the current delay present dangerous incentives for other

 students accused of similar conduct. Moreover, even if the University could hold a


 2
  Nevertheless, both the University and the Court have obligations to the Claimant
 – the University under Title IX and the Court in equity. See Doe v. The Ohio State
 Univ., 136 F. Supp. 3d 854, 871 (S.D. Ohio 2016); Rock & Roll Hall of Fame &
 Museum, Inc. v. Gentile Prods., 134 F.3d 749, 753 (6th Cir. 1998).
 3
   As the Court knows, the holding in Doe v. Baum made clear that if a material
 witness is unavailable to appear at Doe’s hearing, the University may be precluded
 from adjudicating the Claimant’s allegations at all. See 903 F.3d 575, 581-83 (6th
 Cir. 2018).

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 lawful hearing after Doe graduates, if Doe were found to have violated the Sexual

 Misconduct Policy, the University’s options to impose appropriate discipline

 would be severely limited.

                                   CONCLUSION
       For the foregoing reasons, and to ensure a full and fair hearing for all parties,

 Defendants respectfully request that the Court vacate and dissolve its order barring

 the University from moving forward with Plaintiff John Doe’s student conduct

 hearing, or, in the alternative, promptly rule on the motions pending before the

 Court. If the Court grants the University’s motion and dissolves the stay on Doe’s

 hearing, the University proposes to complete its process and hold Doe’s student

 conduct hearing within 45 days of the Court’s disposition of this motion.4




 4
   While the University will strive to hold Doe’s hearing within 45 days, the hearing
 could be delayed as a result of the University’s efforts to reasonably accommodate
 the availability of the parties, their representatives, and witnesses, and the timing
 and extent of any feedback on the evidentiary file and preliminary report.

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                                        Respectfully submitted,
 January 22, 2020

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                            CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2020, I electronically filed the foregoing

 papers with the Clerk of the Court using the ECF system which will send

 notification of such filing to:

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